Case 2:18-cr-20421-GCS-APP ECF No. 52, PageID.449 Filed 06/20/19 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,
                                                           Case No. 18-CR-20421
         Plaintiff,
vs.                                                        Hon. George Caram Steeh

CRAIG DAVID EVANS,

      Defendant.
______________________________________________/

                      NOTICE OF WITHDRAWAL OF MOTION TO
                            REVOKE DETENTION

         Craig David Evans, by his attorney, Kimberly W. Stout, hereby withdraws his Motion for

Revocation of Detention.




                                     Respectfully,

                                     /s/ Kimberly W. Stout
                                     KIMBERLY W. STOUT (P38588)
                                     Attorney for Defendant
                                     370 E. Maple Rd., Third Floor
                                     Birmingham, MI 48009
                                     (248) 258-3181
                                     wadesmom1@aol.com




Dated:           June 20, 2019
Case 2:18-cr-20421-GCS-APP ECF No. 52, PageID.450 Filed 06/20/19 Page 2 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,
                                                      Case No. 18-CR-20421
         Plaintiff,
vs.                                                   Hon. George Caram Steeh

CRAIG DAVID EVANS,

      Defendant.
______________________________________________/


                                 PROOF OF SERVICE:
                      NOTICE OF WITHDRAWAL OF MOTION TO
                            REVOKE DETENTION

         KIMBERLY W. STOUT hereby certifies that she filed the above with service by ECF

filing upon all parties.




                                   Respectfully,

                                   /s/ Kimberly W. Stout
                                   KIMBERLY W. STOUT (P38588)




Dated:           June 20, 2019
